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                                                                          NOT FOR PUBLIC VIEW
    AO 93 (Rev. 11/13) Search and Seizure Warrant



                                                UNITED STATES DISTRICT COURT
                                                                                  for the
                                                                                                                                             SEP 2 7 2019
                                                                    Southern District of California
                                                                                                                                CLER« I IS', r:,1~n,1cT COURT
                       In the Matter of the Search of                                )                                       SClUTMf·,,,i, •,H,i''fi•C 1 OF CALIFOHt• '/.
                                                                                                                             BY                                Dfr,
                  (Briefly describe the property to be searched                      )
                   or identify the person by name and address)                       )      Case No.
                THE RESIDENCE OF TRORICE CRAWFORD
                    LOCATED AT 4078 34TH STREET,
                                                                                     )
                                                                                     )                       19MJ3464
                         SAN DIEGO, CA 92104                                         )

                                                       SEARCH AND SEIZURE WARRANT
    To:         Any authorized law enforcement officer
             An application by a federal law enforcement officer or an attorney for the government requests the search
    of.the following person or property located in the          Southern            District of               California
     (identify the person or describe the property to be searched and give its location):

          See Attachment A, which is incorporated by reference.




                I find that the affidavit(s), or any recorded testimony, establish probable cause to search and seize the person or property
     described above, and that such search will reveal (identify the person or describe the property to be seized):
          See Attachment B, which is incorporated by reference.




                YOU ARE COMMANDED to execute this warrant on or before                 August 29, 2019         (not to exceed 14 days)
           ,I   in the daytime 6:00 a.m. to 10:00 p.m. 0 at any time in the day or night because good cause has been established.

            Unless delayed notice is authorized below, you must give a copy of the warrant and a receipt for the property taken to the
    person from whom, or from whose premises, the property was taken, or leave the copy and receipt at the place where the
--property-was-taken,--· -              __ _ ___ _    _ _ ___ _                                                    _____ _
             The officer executing this warrant, or an officer present during the execution of the warrant, must prepare an inventory
     as required by law and promptly return this warrant and inventory to _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
                                                                                                             (United States Magistrate Judge)

          ,I Pursuant to 18 U.S.C. § 3 l03a(b), I find that immediate notification may have an adverse result listed in 18 U.S.C.
     § 2705 (except for delay of trial), and authorize the officer executing this warrant to delay notice to the person who, or whose
     property, will be searched or seized (check the appropriate box)
          ,I f o r ~ days (not to exceed 30)            •
                                                    until, the facts justifying, the later specific date of


     Date and time issued:                                                                  __I~.
                                                                                                  .            '
                                                                                                                       ,4lrJJ.:N1~---
                                                                                                                     Judge's signature


     City and state:              San Diego, California                                               Hon. 11.llison Goddard, U,S. Magistrate Judge
                                                                                                                   Printed n(_lrt'ie and'title
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AO 93 (Rev. 11/13) Search and Seizure Warrant (Page 2)

                                                                     Return
Case No.:                                Date an~/m~ Iarrant executed:                  Copy of warrant and inventory left with:
  I? MT--2.4 b4                              c> ~ I(:; 201 9         '1/VJO                  1CDrice: Crru-i..ftirJ..6'e.r-+\t.,,_ G,..,J,.,n..._
Inventory made in the presence of :             W\       1
                                                               I1.    I
                                          .SA ;\ 11\.W\ /t(, , ' -
Inventory of the property taken and name of any person(s) se'iied:

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                                                 (V")
                                                                                                  c..,/\~   ;\,k 1<-eriz, -e.,,

~I) :301 ~ /w \-_~          +~ l'.?' lc>1'G~             App\e, TPA'ti ~<--ll -11:-D LX SbS-t< 41-t &::~




                                                               Certification

                        -                  ---                 ----       ·------- - - - -    -   ---       -----   -             -----   -------

        I declare nnder penalty of perjury that this inventory is correct and was returned along with the original warrant to the
designated judge.



Date:      <rl21lt2
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     I                                        ATTACHMENT A

     2                                PREMISES TO BE SEARCHED
     3          The property to be searched is 4078 34th Street, San Diego, CA 92104, further

     4   described as the left-side of a one-level tan in color residential duplex. Photographs of the

     5   SUBJECT PREMISES are included below.

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 1                                         ATTACHMENT B

 2                          ITEMS TO BE SEARCHED FOR AND SEIZED

 3           1.      The evidence to be searched for and seized concerns evidence, contraband,

 4   fruits, or instrumentalities of violations of Title 18, United States Code, Sections 1343 (wire

 5   fraud), 1349 (conspiracy to commit wire fraud), 1956 (conspiracy to commit money

 6   laundering) and 1028A (aggravated identity theft), committed between July 1, 2014, and

 7   August 6, 2019 is described as follows:

 8                   a.     Communications, papers, records and information relating to a

 9   conspiracy to defraud victims with a military association (those on active duty, reservists,

10   retired service members, military spouses, and military dependents) (hereafter "military-

11   affiliated individuals");

12                   b.     Communications, records and information relating to access of

13   military-affiliated individuals' computers, bank accounts, veterans benefits accounts and

14   other government-benefits accounts, and/or government-benefits program websites (e.g.,

15   DS Logan or eBenefits);

16                   c.     Records and information relating to financial transactions using funds

17   obtained from victim bank accounts;

 8                -u:·-     Recora.s·antl-mformation-relatlngtofrnancia:ltransacti.ons conceTiiliJ:g --

19   the remittance of stolen funds via money transfers (e.g. Western Union, MoneyGram, etc.)

20   to foreign entities;

21                  e.      Records and information relating to the following e-mail accounts,

22   their ownership and control, and use of the email accounts to further illicit activities:

23   brown.fredrick@gmail.com (associated with BROWN); fastcask2kl0@aol.com and

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 1   cashmirepurple@gmail.com (associated with CRAWFORD); and ctml 172@gmail.com,

 2   bolingjunior@gmail.com, and wayneboling0600@gmail.com (associated with BOLING) ;

 3                  f.     Communications with the e-mail accounts listed above in paragraph

 4   Le. or other e-mail accounts linked to other co-conspirators concerning the SUBJECT

 5   OFFENSES;

 6                  g.     Records and information exchanged via Facebook Messenger or

 7   stored in Dropbox accounts (or other cloud storage accounts) of the co-conspirators

 8   concerning stolen PII and other aspect of the conspiracy to defraud military-affiliated

 9   individuals;

10                  h.     Records and information relating to the identity or location of the

11   suspects and other accomplices/ co-conspirators;

12                  1.     Records and information relating to cominunications with Internet

13   Protocol (IP) address 120.29.124.34 or any other IP address who initial 5 digit numerical

14   label resolves to 120.29.

15                  J.     Records and information relating to the un authorized access and/ or

16   theft of electronic health records of military-affiliated individuals and/ or the Armed Forces

17   Health Longitudinal Technology Application (AHLTA);

18- ----     -   ~k:--- -Records and informationrelating tQ_!Ilalicious_sCJftware.

19                  L      Routers, modes, and network equipment used to connect digital

20   devices to the Internet;

21                  m.     Any digital device used to facilitate the above-listed violations and

22   forensic copies thereof;

23                  n.     Any digital device capable of storing or containing the documents,

24   records, and communications mentioned in items a through j above;


                                                   33
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             1                   0.     With respect to any seized digital device, the following information is

             2    also to be seized:

             3                          i.      evidence of who used, owned, or controlled the device at the

          4       time the things described in this warrant were created, edited, or deleted, such as logs,

          5      registry entries, configuration files, saved usemames and passwords, documents, browsing

          6      history, user profiles, e-mail, e-mail contacts, chat and instant messaging logs, photographs,

          7      and correspondence;

          8                             II.    evidence of the presence or absence of software that would

         9       allow others to control the device, such as viruses, Trojan horses, and other forms of

        10       malicious software, as well as evidence of the presence or absence of security software

        11       designed to detect malicious software;

        12                             Ill.    evidence of the attachment to the device of other storage

        13       devices or similar containers for electronic evidence;

        14                             1v.     evidence of counter-forensic programs (and associated data)

        15       that are designed to elinrinate data from the device;

        16                             V.      evidence indicating how and when the device was accessed or

        17       used to determine the chronological context of device access, use, and events relating to

----18- -crime under-investigatien and-to the device user; - - -

        19                             Vl.     evidence indicating the device IISer' s state of mind as it relates

        20       to the crime under investigation;

        21                             v11.    evidence of the times the device was used;

        22                             Vlll.   passwords, encryption keys, biometric keys, and other access

        23       devices that may be necessary to access the device;

        24


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            1                           IX.     applications, utility programs, compilers, interpreters, or other

         2      software, as well as documentation and manuals, that may be necessary to access the device

         3      or to conduct a forensic examination ofit;

         4                              x.      records or information about Internet Protocol addresses used

         5      by the device;

         6                              XL      records of or information about the device's Internet activity,

         7      including firewall logs, caches, browser history and cookies, "bookmarked" or "favorite"

         8      web pages, search terms that the user entered into any Internet search engine, and records o

         9      user-typed web addresses;

        10                              Xll.    contextual information necessary to understand the evidence

        11      described in this attachment.

        12             2.        The seizure and search of digital devices shall follow the procedures outlined

       13       in the supporting affidavit. Deleted data, remnant data, slack space, and temporary and

       14       permanent files on the digital devices may be searched for the evidence above.

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       AD 106 (Rev. 04/10) Application for a Search Warrant                                                          FILED
                                                                                                                          AUG 16 2019
                                             UNITED STATES DISTRICT Cou ,T
                                                                           for the                            CLERK US lJIS I HICT COUHT
                                                                Southern District of California            SOUTHERN DISTRIC 1 Of- CALIFORNIA
                                                                                                           BY                         Df-PllTY


                     In the Matter of the Search of                            )
                (Briefly describe the property to be searched
                 or identify the person by name and address)                   j
                                                                               )
                                                                                        Case No.   1 9MJ 3 4 6 4
            THE RESIDENCE OF TRORICE CRAWFORD
                LOCATED AT 4078 34TH STREET,                                   )
                     SAN DIEGO, CA 92104                                       )

                                                    APPLICATION FOR A SEARCH WARRANT
               I, a federal law enforcement officer or an attorney for the government, request a search warrant and state under
       penalty of perjury that I have reason to believe that on the following person or property (identify the person or describe the
       prJIJ)ertv.jO b~ seorc/1ed and giye jts./ocation):
         :oee A tacnment A, whTcn 1s incorporated by reference.


       located in the ___S_o_u_th_e_r_n_ _ District of _____C_a_li_fo_r_n_ia_ _ _ _ , there is now concealed (identify the
       person or describe the property to be seized):
        See Attachment B, which is incorporated by reference.


                 The basis for the search under Fed. R. Crim. P. 4l(c) is (check one or more):
                        i   evidence of a crime;
                        i   contraband, fruits of crime, or other items illegally possessed;
                        cfi property designed for use, intended for use, or used in committing a crime;
                        •   a person to be arrested or a person who is unlawfully restrained.

                 The search is related to a violation of:
                   Code Section                                                       Offense Description
               18 u.s.c. §§ 1343, 1349,                  Wire fraud; conspiracy to commit wire fraud; conspiracy to commit money
               1956, 1028A                               laundering; and aggravated identity theft.

                The application is based on these facts:
               See Affidavit of Department of Defense Special Agent Jacob W. Dye, which is hereby inorporated by reference
               and made part hereof.

            i Continued on the attached sheet.
_ ____ _-~ff~ Delayed notice o f ~ day,;_(give exac:(endinK~ate if mort!tl1an}0_d~ys: _ _ _ _ _ ) is requested
                      under 18 U.S.C. § 3103a, the basis of which is set forth on the attached sheet.



                                                                                     ~Ap~Zure
                                                                                             JACOB DYE, Special Agent, DCIS
                                                                                                   Printed name and title

       Sworn to before me and signed in my presence.


       Date:
                                                                                                     Judge 's signature

       City and state: San Diego, California                                           Hon. Allison Goddard, U.S. Magistrate Judge
                                                                                                   Printed name and title
